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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        24                                                               Invoice For    Texas DFPS/HHSC
Issue Date        08/17/2021

Due Date          09/16/2021 (Net 30)

Subject           Texas Appleseed Monitoring Team; July2021




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (07/01/2021 -            168.30            $168.82            $28,411.88
                  07/31/2021)


Product           Expenses for Texas Foster Care Court Monitoring - Travel               1.00           $5,154.43            $5,154.43
                  (07/01/2021 - 07/31/2021)


Service           Texas Foster Care Monitoring (07/01/2021 - 07/31/2021)             1,923.27            $286.07           $550,189.85


Product           Expenses for Texas Foster Care Monitoring (07/01/2021 -                1.00           $1,148.87            $1,148.87
                  07/31/2021)


                                                                                                 Amount Due            $584,905.03




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                             INVOICE
                                                                                    From     Texas Appleseed
                                                                                             1609 Shoal Creek Blvd
                                                                                             Ste 201
                                                                                             Austin, TX 78701




Invoice ID        24                                                           Invoice For   Texas DFPS/HHSC
Issue Date        08/17/2021

Due Date          09/16/2021 (Net 30)

Subject           Texas Appleseed Monitoring Team; July 2021




Item Type         Description                                                     Quantity         Unit Price        Amount

Service           Texas Foster Care Court Monitoring - Travel - 07/01/2021 -         0.75           $162.50          $121.88
                  Travel / Victoria Foster


Service           Texas Foster Care Court Monitoring - Travel - 07/01/2021 -         0.75           $162.50          $121.88
                  Travel / Victoria Foster


Service           Texas Foster Care Court Monitoring - Travel - 07/01/2021 -         4.67           $197.50          $922.33
                  Travel / Linda Brooke


Service           Texas Foster Care Court Monitoring - Travel - 07/01/2021 -         3.50           $125.00          $437.50
                  Travel / Shay Price


Service           Texas Foster Care Court Monitoring - Travel - 07/01/2021 -         3.50           $162.50          $568.75
                  Travel / Viveca Martinez


Service           Texas Foster Care Court Monitoring - Travel - 07/07/2021 -         4.22           $162.50          $685.75
                  Travel / Viveca Martinez


Service           Texas Foster Care Court Monitoring - Travel - 07/08/2021 -         4.67           $197.50          $922.33
                  Travel / Linda Brooke


Service           Texas Foster Care Court Monitoring - Travel - 07/08/2021 -         3.25           $212.50          $690.63
                  EVE/WKND Travel / Deborah Fowler


Service           Texas Foster Care Court Monitoring - Travel - 07/08/2021 -         2.25           $212.50          $478.13
                  EVE/WKND Travel / Deborah Fowler


Service           Texas Foster Care Court Monitoring - Travel - 07/08/2021 -         3.00           $162.50          $487.50
                  Travel / Clarice Rogers


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Service        Texas Foster Care Court Monitoring - Travel - 07/08/2021 -   5.25   $125.00    $656.25
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 07/08/2021 -   5.25   $100.00    $525.00
               Travel / Adrian Gaspar


Service        Texas Foster Care Court Monitoring - Travel - 07/08/2021 -   3.18   $162.50    $516.75
               Travel / Viveca Martinez


Service        Texas Foster Care Court Monitoring - Travel - 07/09/2021 -   1.08   $197.50    $213.30
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 07/09/2021 -   3.50   $162.50    $568.75
               Travel / Clarice Rogers


Service        Texas Foster Care Court Monitoring - Travel - 07/09/2021 -   3.83   $125.00    $478.75
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 07/09/2021 -   3.50   $100.00    $350.00
               Travel / Adrian Gaspar


Service        Texas Foster Care Court Monitoring - Travel - 07/10/2021 -   3.00   $197.50    $592.50
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   3.75   $162.50    $609.38
               Travel / Nancy Arrigona


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   6.00   $197.50   $1,185.00
               Travel / Beth Mitchell


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   2.75   $162.50    $446.88
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   4.42   $325.00   $1,436.50
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   0.50   $162.50     $81.25
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   1.50   $212.50    $318.75
               EVE/WKND Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 07/20/2021 -   4.50   $212.50    $956.25
               Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   4.75   $197.50    $938.13
               Travel / Beth Mitchell


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   3.92   $162.50    $637.00
               Travel / Nancy Arrigona




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Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   1.00   $125.00    $125.00
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   1.83   $125.00    $228.75
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   2.08   $125.00    $260.00
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   4.58   $197.50    $904.55
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   4.08   $325.00   $1,326.00
               Travel / Monica Santiago


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   0.50   $162.50     $81.25
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   0.75   $162.50    $121.88
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   1.75   $162.50    $284.38
               Travel / Victoria Foster


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   7.75   $125.00    $968.75
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   7.75   $162.50   $1,259.38
               Travel / Clarice Rogers


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   4.08   $125.00    $510.00
               Travel / Mahiri Moody


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   2.00   $212.50    $425.00
               Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 07/21/2021 -   2.50   $212.50    $531.25
               EVE/WKND Travel / Deborah Fowler


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   5.83   $162.50    $947.38
               Travel / Nancy Arrigona


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   0.17   $125.00     $21.25
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   0.17   $125.00     $21.25
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   2.08   $125.00    $260.00
               Travel / Veronica Lockett-Villalpando




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Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   1.42    $125.00     $177.50
               Travel / Veronica Lockett-Villalpando


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   3.92    $197.50     $774.20
               Travel / Linda Brooke


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   4.83    $125.00     $603.75
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   4.83    $162.50     $784.88
               Travel / Clarice Rogers


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   0.67    $125.00      $83.75
               Travel / Mahiri Moody


Service        Texas Foster Care Court Monitoring - Travel - 07/22/2021 -   2.08    $125.00     $260.00
               Travel / Mahiri Moody


Service        Texas Foster Care Court Monitoring - Travel - 07/23/2021 -   0.75    $162.50     $121.88
               Travel / Nancy Arrigona


Service        Texas Foster Care Court Monitoring - Travel - 07/23/2021 -   4.83    $125.00     $603.75
               Travel / Shay Price


Service        Texas Foster Care Court Monitoring - Travel - 07/23/2021 -   4.83    $162.50     $784.88
               Travel / Clarice Rogers


Product        Expenses for Texas Foster Care Court Monitoring - Travel     1.00   $5,154.43   $5,154.43
               (07/01/2021 - 07/31/2021)


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         8.00    $250.00    $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.90    $300.00     $270.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.42    $300.00     $126.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.56    $300.00     $168.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.81    $300.00     $243.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.32    $300.00      $96.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document         0.27    $300.00      $81.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 07/01/2021 - Document           0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           6.50   $300.00   $1,950.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           3.50   $250.00    $875.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/01/2021 - EVE/WKND           0.58   $425.00    $246.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/01/2021 - EVE/WKND           1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/01/2021 - Document           3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/02/2021 - Document           8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/02/2021 - Document           0.41   $300.00    $123.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/02/2021 - Document           1.77   $300.00    $531.00
               Review/Data Analysis/Verification Work / Robert McManus




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Service        Texas Foster Care Monitoring - 07/02/2021 - Project          2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         2.00   $300.00    $600.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/02/2021 - Project          2.83   $395.00   $1,117.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/02/2021 - EVE/WKND         1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/02/2021 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/02/2021 - Project          4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/02/2021 - Report and       4.00   $325.00   $1,300.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/03/2021 - Document         0.15   $300.00     $45.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/03/2021 - Document         0.82   $300.00    $246.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/03/2021 - Document         3.08   $325.00   $1,001.00
               Review/Data Analysis/Verification Work / Nancy Arrigona




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Service        Texas Foster Care Monitoring - 07/03/2021 - EVE/WKND              1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/04/2021 - Document              0.15   $300.00     $45.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/04/2021 - Document              0.62   $300.00    $186.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/05/2021 -                       0.28   $300.00     $84.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/05/2021 -                       0.27   $300.00     $81.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/05/2021 -                       0.11   $300.00     $33.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/05/2021 - Project               3.75   $395.00   $1,481.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/05/2021 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/05/2021 - EVE/WKND              0.50   $425.00    $212.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/05/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/05/2021 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/06/2021 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/06/2021 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/06/2021 - Project               1.50   $300.00    $450.00
               Management & Planning / Monica Benedict




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Service        Texas Foster Care Monitoring - 07/06/2021 -                        0.53   $300.00    $159.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/06/2021 - Meetings with          1.50   $200.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/06/2021 - Meetings with          1.75   $395.00    $691.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 07/06/2021 - Project                1.33   $395.00    $525.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               4.92   $395.00   $1,943.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/06/2021 - Report and             7.00   $250.00   $1,750.00
               Document Preparation / Veronica Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/06/2021 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/06/2021 - EVE/WKND               1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/06/2021 - Document               2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


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Service        Texas Foster Care Monitoring - 07/06/2021 - Document               4.50   $200.00    $900.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/06/2021 - Project                9.00   $325.00   $2,925.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/07/2021 -                        1.68   $300.00    $504.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/07/2021 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/07/2021 -                        0.55   $300.00    $165.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/07/2021 -                        0.46   $300.00    $138.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/07/2021 -                        0.16   $300.00     $48.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/07/2021 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/07/2021 - Document              10.08   $395.00   $3,981.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers




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Service        Texas Foster Care Monitoring - 07/07/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/07/2021 - Document               6.15   $325.00   $1,998.75
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/08/2021 -                        1.11   $300.00    $333.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/08/2021 -                        0.38   $300.00    $114.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/08/2021 -                        0.57   $300.00    $171.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/08/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/08/2021 - Document               6.50   $300.00   $1,950.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/08/2021 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/08/2021 - Meetings with          0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/08/2021 - Document               6.58   $395.00   $2,599.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/08/2021 - EVE/WKND               0.50   $425.00    $212.50
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/08/2021 - Document              12.40   $120.00   $1,488.00
               Review/Data Analysis/Verification Work / Anna Farr




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Service        Texas Foster Care Monitoring - 07/08/2021 - Document         7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         2.75   $250.00    $687.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         1.83   $250.00    $457.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         6.75   $200.00   $1,350.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/08/2021 - Document         5.27   $325.00   $1,712.75
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         1.59   $300.00    $477.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/09/2021 - Project          0.50   $300.00    $150.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/09/2021 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




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Service        Texas Foster Care Monitoring - 07/09/2021 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              7.50   $120.00    $900.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              5.83   $325.00   $1,894.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              5.75   $250.00   $1,437.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              5.75   $200.00   $1,150.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/09/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/09/2021 - Project               8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/10/2021 - EVE/WKND              7.00   $425.00   $2,975.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/11/2021 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/11/2021 - Document              8.33   $395.00   $3,290.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/11/2021 - Meetings with         3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/11/2021 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/11/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




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Service        Texas Foster Care Monitoring - 07/11/2021 - Report and              4.67   $250.00   $1,167.50
               Document Preparation / Veronica Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/11/2021 - Meetings with           1.33   $250.00    $332.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/11/2021 - Project                 2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with           2.50   $250.00    $625.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/12/2021 - Project                 4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                2.00   $300.00    $600.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with           1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 07/12/2021 - Project                 1.58   $395.00    $624.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                6.75   $395.00   $2,666.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/12/2021 - Document               12.00   $250.00   $3,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




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Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            1.17   $250.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                 6.83   $250.00   $1,707.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            0.25   $325.00     $81.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                 1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            2.17   $395.00    $857.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                 1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            1.17   $325.00    $380.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/12/2021 - Meetings with            1.17   $250.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 07/12/2021 - Document                 6.83   $250.00   $1,707.50
               Review/Data Analysis/Verification Work / Mahiri Moody



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Service        Texas Foster Care Monitoring - 07/12/2021 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/12/2021 - Report and            5.00   $325.00   $1,625.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/13/2021 - Meetings with         4.00   $250.00   $1,000.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/13/2021 - Meetings with         0.50   $200.00    $100.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              6.50   $300.00   $1,950.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              6.67   $250.00   $1,667.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              7.75   $325.00   $2,518.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/13/2021 - Project               3.50   $395.00   $1,382.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/13/2021 - Document              0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Beth Mitchell




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Service        Texas Foster Care Monitoring - 07/13/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/13/2021 - Report and            10.00   $325.00   $3,250.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/14/2021 - Meetings with          2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               7.25   $395.00   $2,863.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/14/2021 - Project                2.17   $395.00    $857.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/14/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/14/2021 - Meetings with          0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 07/14/2021 - EVE/WKND               4.00   $425.00   $1,700.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/14/2021 - Project                3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/14/2021 - Report and             5.00   $325.00   $1,625.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/15/2021 - Project                2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               1.02   $300.00    $306.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/15/2021 - Meetings with          2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/15/2021 - Meetings with          0.33   $250.00     $82.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               9.42   $395.00   $3,720.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/15/2021 - Project                0.83   $395.00    $327.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/15/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 07/15/2021 - Document              3.00   $395.00   $1,185.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/15/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/15/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/15/2021 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/15/2021 - Document              2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/15/2021 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/15/2021 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              0.45   $300.00    $135.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/16/2021 - Meetings with         6.00   $250.00   $1,500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              1.55   $300.00    $465.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/16/2021 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/16/2021 - Meetings with         2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              5.08   $395.00   $2,006.60
               Review/Data Analysis/Verification Work / Linda Brooke




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Service        Texas Foster Care Monitoring - 07/16/2021 - Project               1.33   $395.00    $525.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/16/2021 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/16/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/16/2021 - EVE/WKND              2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/16/2021 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/16/2021 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/17/2021 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/17/2021 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman




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Service        Texas Foster Care Monitoring - 07/17/2021 -                       0.75   $395.00    $296.25
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke


Service        Texas Foster Care Monitoring - 07/17/2021 - EVE/WKND              5.00   $425.00   $2,125.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/18/2021 - Document              0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/18/2021 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/18/2021 - Document              2.42   $395.00    $955.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/18/2021 - EVE/WKND              7.50   $425.00   $3,187.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/18/2021 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/19/2021 - Project               6.50   $300.00   $1,950.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with         4.50   $250.00   $1,125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/19/2021 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/19/2021 -                       0.90   $300.00    $270.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 07/19/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 07/19/2021 - Project               2.00   $325.00    $650.00
               Management & Planning / Nancy Arrigona


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Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            1.67   $395.00    $659.65
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 07/19/2021 - Project                  2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 5.67   $395.00   $2,239.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            1.07   $325.00    $347.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/19/2021 - Document                 8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with            0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


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Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 07/19/2021 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/19/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/19/2021 - EVE/WKND              1.00   $425.00    $425.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/19/2021 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/19/2021 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/19/2021 - Report and            5.00   $325.00   $1,625.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              0.48   $300.00    $144.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/20/2021 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              0.18   $300.00     $54.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/20/2021 - Meetings with         0.95   $300.00    $285.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Robert
               McManus


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              0.11   $300.00     $33.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/20/2021 - Meetings with         0.50   $300.00    $150.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 07/20/2021 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/20/2021 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              7.75   $395.00   $3,061.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/20/2021 - Project               1.92   $395.00    $758.40
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/20/2021 - Meetings with         1.33   $325.00    $432.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/20/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody




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Service        Texas Foster Care Monitoring - 07/20/2021 - Document               3.50   $425.00   $1,487.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/20/2021 - Project                7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/21/2021 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               5.08   $325.00   $1,651.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               2.33   $250.00    $582.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               5.33   $395.00   $2,105.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/21/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 07/21/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/21/2021 - Document               1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Victoria Foster




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Service        Texas Foster Care Monitoring - 07/21/2021 - Document           6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/21/2021 - Document           6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/21/2021 - Document           2.33   $250.00    $582.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/21/2021 - Document           4.50   $425.00   $1,912.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/21/2021 -                    7.75   $325.00   $2,518.75
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 07/21/2021 - Document           6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           0.91   $300.00    $273.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           0.83   $300.00    $249.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/22/2021 - Project            2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           5.17   $325.00   $1,680.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           2.17   $250.00    $542.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster




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Service        Texas Foster Care Monitoring - 07/22/2021 - Document           9.83   $250.00   $2,457.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           9.83   $325.00   $3,194.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           4.67   $250.00   $1,167.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           3.00   $425.00   $1,275.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/22/2021 -                    4.50   $325.00   $1,462.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 07/22/2021 - Document           9.50   $325.00   $3,087.50
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           0.85   $300.00    $255.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           0.29   $300.00     $87.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/23/2021 - Project            2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           0.40   $300.00    $120.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/23/2021 - Document           7.17   $395.00   $2,832.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/23/2021 - Project            1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/23/2021 -                    1.08   $395.00    $426.60
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke



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Service        Texas Foster Care Monitoring - 07/23/2021 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              1.83   $250.00    $457.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/23/2021 - Meetings with         0.67   $425.00    $284.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/23/2021 -                       5.50   $325.00   $1,787.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 07/23/2021 - Document              2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/24/2021 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/24/2021 - EVE/WKND              7.50   $425.00   $3,187.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/25/2021 - Project               3.00   $395.00   $1,185.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/25/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/25/2021 - Document              1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/25/2021 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler



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Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              0.72   $300.00    $216.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         1.92   $200.00    $384.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              0.30   $300.00     $90.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/26/2021 - Project               4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              0.47   $300.00    $141.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/26/2021 -                       0.50   $325.00    $162.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 07/26/2021 - Project               1.50   $325.00    $487.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              6.08   $200.00   $1,216.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         3.42   $395.00   $1,350.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke




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Service        Texas Foster Care Monitoring - 07/26/2021 - Project                  1.25   $395.00    $493.75
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/26/2021 - Report and               2.75   $395.00   $1,086.25
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 3.67   $395.00   $1,449.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with            1.92   $325.00    $624.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with            2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with            1.92   $250.00    $480.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 6.08   $250.00   $1,520.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with            1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/26/2021 - Document                 3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Victoria Foster



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Service        Texas Foster Care Monitoring - 07/26/2021 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         3.50   $395.00   $1,382.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/26/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/26/2021 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/26/2021 - EVE/WKND              1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 07/26/2021 - Project               5.00   $325.00   $1,625.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/26/2021 - Report and            3.00   $325.00    $975.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with         0.50   $200.00    $100.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/27/2021 - Project               1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/27/2021 - Project               1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman




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Service        Texas Foster Care Monitoring - 07/27/2021 - Document              0.52   $300.00    $156.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/27/2021 - Project               3.50   $300.00   $1,050.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/27/2021 -                       0.50   $325.00    $162.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              7.33   $325.00   $2,382.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/27/2021 - Project               3.00   $200.00    $600.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with         0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 07/27/2021 - Project               2.00   $395.00    $790.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/27/2021 - Report and            6.25   $395.00   $2,468.75
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/27/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price



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Service        Texas Foster Care Monitoring - 07/27/2021 - Document               4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with          0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/27/2021 - Meetings with          0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/27/2021 - Document               2.00   $425.00    $850.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/27/2021 - Project                3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/27/2021 - Report and             5.00   $325.00   $1,625.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/28/2021 - Document               1.15   $300.00    $345.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/28/2021 - Document               8.50   $200.00   $1,700.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/28/2021 - Project                2.00   $200.00    $400.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/28/2021 - Project                1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/28/2021 - Document               6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 07/28/2021 - Document              2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/28/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              8.92   $325.00   $2,899.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/28/2021 - Project               2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/28/2021 - Report and            6.33   $395.00   $2,500.35
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/28/2021 - Document              4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/28/2021 - EVE/WKND              2.00   $425.00    $850.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler




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Service        Texas Foster Care Monitoring - 07/28/2021 - Project          6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/28/2021 - Document         5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         3.43   $300.00   $1,029.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         0.84   $300.00    $252.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         9.67   $325.00   $3,142.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 07/29/2021 - Project          1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/29/2021 - Document         3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/29/2021 - Project          3.25   $395.00   $1,283.75
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/29/2021 - Project          3.67   $395.00   $1,449.65
               Management & Planning / Linda Brooke




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Service        Texas Foster Care Monitoring - 07/29/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              9.50   $325.00   $3,087.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              3.25   $395.00   $1,283.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/29/2021 -                       1.00   $395.00    $395.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Beth Mitchell


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 07/29/2021 - Document              4.00   $425.00   $1,700.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 07/29/2021 - Meetings with         3.00   $325.00    $975.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 07/29/2021 - Project               6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 07/30/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 07/30/2021 - Document              0.54   $300.00    $162.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/30/2021 - Document              1.38   $300.00    $414.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 07/30/2021 - Project               3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 07/30/2021 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 07/30/2021 - Document               7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 07/30/2021 - Meetings with          1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 07/30/2021 - Document              11.00   $250.00   $2,750.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 07/30/2021 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 07/30/2021 - Project                5.00   $395.00   $1,975.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/30/2021 - Project                1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 07/30/2021 -                        2.00   $325.00    $650.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               9.25   $325.00   $3,006.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 07/30/2021 - Meetings with          2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 07/30/2021 - Document               1.80   $395.00    $711.00
               Review/Data Analysis/Verification Work / Beth Mitchell


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Service           Texas Foster Care Monitoring - 07/30/2021 - Document                   2.50            $325.00               $812.50
                  Review/Data Analysis/Verification Work / Victoria Foster


Service           Texas Foster Care Monitoring - 07/30/2021 - Document                   4.00            $200.00               $800.00
                  Review/Data Analysis/Verification Work / Adrian Gaspar


Service           Texas Foster Care Monitoring - 07/30/2021 - Document                   3.00            $425.00             $1,275.00
                  Review/Data Analysis/Verification Work / Deborah Fowler


Service           Texas Foster Care Monitoring - 07/30/2021 - Meetings with              4.00            $325.00             $1,300.00
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Viveca
                  Martinez


Service           Texas Foster Care Monitoring - 07/30/2021 - Project                    6.00            $325.00             $1,950.00
                  Management & Planning / Viveca Martinez


Service           Texas Foster Care Monitoring - 07/31/2021 - Document                   0.86            $300.00               $258.00
                  Review/Data Analysis/Verification Work / Robert McManus


Service           Texas Foster Care Monitoring - 07/31/2021 - Document                   0.28            $300.00                $84.00
                  Review/Data Analysis/Verification Work / Robert McManus


Service           Texas Foster Care Monitoring - 07/31/2021 - Document                   0.11            $300.00                $33.00
                  Review/Data Analysis/Verification Work / Robert McManus


Service           Texas Foster Care Monitoring - 07/31/2021 - Document                   2.00            $250.00               $500.00
                  Review/Data Analysis/Verification Work / Deborah Borman


Service           Texas Foster Care Monitoring - 07/31/2021 - Document                   7.50            $425.00             $3,187.50
                  Review/Data Analysis/Verification Work / Deborah Fowler


Product           Expenses for Texas Foster Care Monitoring (07/01/2021 -                1.00           $1,148.87            $1,148.87
                  07/31/2021)


                                                                                                 Amount Due            $584,905.03




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense Report for Invoice                                               Texas Appleseed
#24


07/01/2021                                 $50.47

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Breakfast (3 monitors)




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07/01/2021                                    $161.28

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel to Rockwall CPS; return travel [288.0 miles]


07/01/2021                                    $231.28

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Viveca Martinez
CWOP Visit to Dallas Area- Personal Use of Vehicle -
V. Martinez Mileage - Austin to Dallas 195, Rockwall
to Austin 218 (413 total miles round trip) [413.0
miles]


07/01/2021                                    $284.72

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Other
Person    Viveca Martinez
All Receipts for Meals and 1 Gas - CWOP Dallas
Area




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07/08/2021                                $479.48

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
Enterprise Car Rental




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07/08/2021                                  $69.20

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Other
Person    Viveca Martinez
CWOP San Antonio Site Visits - Gas (Meals and Gas
in recipes but only Gas represented in this total)




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07/08/2021                                 $280.16

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
CWOP Visits San Antonio Area for 6 Monitors -
Meals and Gas in PDF but only total for Meals
included here




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07/08/2021                                 $834.00

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
CWOP Visits to San Antonio Area for 6 Monitors for
1 night - Receipts route to Admin Travel Box




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07/08/2021                                 $143.92

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel to Region 9 CWOP locations (Nacodoches,
Boerne, Zarzamora) [257.0 miles]


07/09/2021                                   $29.68

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Region 8 CWOP locations and return (Castroville,
Pickwell, ChildSafe [53.0 miles]


07/10/2021                                 $110.88

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Return travel [198.0 miles]


07/21/2021                                   $70.33

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Meal receipts July 21 (4 staff)




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07/21/2021                                $582.88

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Transportation
Person    Viveca Martinez
Enterprise Car Rental




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07/21/2021                                $400.94

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
CWOP Visits South Texas Meals (this includes 2 Gas
receipts as I PDF'ed all receipts in dated order)




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07/21/2021                                    $101.24

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Other
Person    Viveca Martinez
CWOP Visits South Texas - GAS (The gas receipts
are within the meal receipts as 1 PDF and all are in
dated order)




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07/21/2021                                 $88.41

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Meal receipts July 21 (4 staff)




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07/21/2021                                $217.96

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Linda Brooke
Two rooms (Brooke - Lockett)




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07/21/2021                                $859.20

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
CWOP South Texas Hotel 4 Monitors




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07/21/2021                                $158.40

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Viveca Martinez
CWOP South Texas Hotel (1 Room )




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07/20/2021                                  $24.02

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Deborah Fowler
07.20.21 - K&K Bar-B-Que - $24.02




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07/20/2021                                  $109.10

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Deborah Fowler
07.20.21 - DF - La Quinta - Rm 219 - DF - CPC -
$109.10




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07/20/2021                                  $104.60

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Deborah Fowler
07.20.21 - DF - La Quinta Rm 216 - FD - CPC -
$104.60




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07/20/2021                                  $104.60

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Deborah Fowler
07.20.21 - DF - La Quinta Rm 328 - DF - $104.60




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07/20/2021                                       $41.99

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Deborah Fowler
07.20.21 - DF - Gas - CPC - $41.99


07/21/2021                                       $62.96

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Deborah Fowler
07.21.21 - DF - Ritual - Lunch for CPC - 62.96




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07/21/2021                                  $42.71

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Deborah Fowler
07.21.21 - DF - Quick Way - CPC $42.71




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07/23/2021                                  $196.62

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Nancy Arrigona
07.23.21 - Enterprise Rent A Car Receipt




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07/26/2021                                  $39.35

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Nancy Arrigona
gas for rental car




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07/26/2021                                  $34.25

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Transportation
Person       Nancy Arrigona
gas for rental car




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07/26/2021                                  $11.04

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Nancy Arrigona
dinner 7/20/21




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07/26/2021                                       $6.63

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Other
Person       Nancy Arrigona
water, snacks and disinfectant wipes for site visits,
Lufkin




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07/26/2021                                   $144.02

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Nancy Arrigona
Hotel in Houston, leaving early next morning on site
visit trip




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07/26/2021                                  $108.98

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Nancy Arrigona
Hotel room 1 - for M Moody, Room 305, Lufkin




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07/26/2021                                  $108.98

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Lodging
Person       Nancy Arrigona
Hotel room 2 - Room 307 - Lufkin




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07/26/2021                                  $9.02

Client       Texas DFPS/HHSC
Project      Texas Foster Care Monitoring
Category     Meals
Person       Nancy Arrigona
breakfast - Lufkin




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